 Case 4:23-cv-00681-P Document 1 Filed 06/30/23               Page 1 of 8 PageID 1



                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION


Tracy Turner,
                                                        Case No. 4:23-cv-681
                                  Plaintiff,
                                                           COMPLAINT
v.                                                   (JURY TRIAL DEMANDED)

BNSF Railway Co.,

                                Defendant.


                                  INTRODUCTION

       1.       The Federal Railroad Administration (FRA) requires railroads to assess

whether their trainmen have the visual acuity necessary to recognize and distinguish

colored railroad signals. The FRA does not require that trainmen have perfect color

vision to be licensed, but instead recognizes that color vision deficiency ranges in

severity from very mild to severe, some of which may prevent an employee from safely

operating a train and most of which will not. 49 C.F.R. § 242.117(h)(3); Best Practices

for Designing Vision Field Tests for Locomotive Engineer or Conductors, 80 Fed. Reg.

73,122, 73123–24 (Nov. 24, 2015) (“Best Practices for Designing Vision Field Test”)

(“FRA’s longstanding view is that there are some people who, despite not meeting the

vision threshold in 49 CFR 240.121(c) and 242.117(h), have sufficient residual visual

capacity to safely perform as a locomotive engineer or conductor.”) The FRA therefore

tasks railroads with determining not whether an employee suffers from a color-vision

deficiency, but whether the employee can safely do his/her job despite such deficiency.




                                               1
 Case 4:23-cv-00681-P Document 1 Filed 06/30/23                 Page 2 of 8 PageID 2



       2.      Tracy Turner was a trainman for BNSF Railway Co. who could

distinguish signals despite, like one in twelve men, suffering from a genetic anomaly that

causes him to be color-vision deficient. For a decade and a half, BNSF tested and

licensed Turner every three years, as required by the regulations. Never in that fifteen

years did Turner ever misread a railroad signal while driving a train for BNSF.

       3.      In 2020, BNSF nevertheless revoked his license, claiming his color-vision

deficiency now prevented him from safely doing his job. Nothing about Turner’s vision

had changed. Rather, BNSF this time used a field test that did not replicate what he must

actually see to be able to safely do his job to assess his color vision. BNSF relied solely

on his failure of that test to revoke his license, ignoring the mountain of evidence

demonstrating that he can sufficiently distinguish between railroad signals despite being

color-vision deficient.

       4.      Using tests that do not replicate what employees must actually see to

justify discriminating against them on the basis of their color vision and ignoring contrary

evidence is exactly the type of discrimination that is prohibited by Americans with

Disabilities Act (ADA). Turner has therefore filed this case, and he asks the Court to

order BNSF to undo the wrong it has done to him.

                                         PARTIES

       5.      Turner is an individual who resides and worked for BNSF in this district.

       6.      BNSF is a railroad carrier engaged in interstate commerce that is

headquartered and operates in this district.

                             JURISDICTION AND VENUE

       7.      This Court has subject-matter jurisdiction under 28 U.S.C. § 1331.



                                               2
 Case 4:23-cv-00681-P Document 1 Filed 06/30/23                   Page 3 of 8 PageID 3



       8.      Venue is proper in this district pursuant to 28 U.S.C. § 1391 because

BNSF is headquartered in this district, Turner resides in this district, and a substantial

part of the events or omissions giving rise to his claims occurred in this district.

                               FACTUAL ALLEGATIONS

       9.      The FRA requires that railroads assess whether their trainmen have the

visual acuity necessary to recognize and distinguish colored railroad signals. 49 C.F.R.

Part 242 Appx. D.

       10.     First, trainmen must take a clinical exam, like the Ishihara test, without

chromatic lenses. 49 C.F.R. §§ 240, App. F(2)-(3).

       11.     Those who do not pass are to be sent to the railroad’s medical examiner

for further evaluation. 49 C.F.R. §§ 240.121(e), App. F(4).

       12.     Such evaluation may include “[o]phthalmologic referral, field testing, or

other practical color testing[,]” with or without chromatic lenses. 49 C.F.R. §§ 240, App.

F(3)-(4).

       13.     These evaluations are not dispositive either; rather, the medical examiner

must “review all pertinent information,” explicitly including consultation with the

employee’s supervisor, to determine whether the employee can safely do his or her job

despite being color vision deficient. 49 C.F.R. §§ 240.121(e), App. F(4).

       14.     Importantly, employees may be certified even if their color vision

deficiency prevents them from safely operating under circumstances from which they can

be restricted instead of outright decertified, e.g., driving at night. 49 C.F.R. §§

240.121(e), App. F(4).




                                              3
 Case 4:23-cv-00681-P Document 1 Filed 06/30/23                 Page 4 of 8 PageID 4



        15.      The latitude the FRA grants to railroads to license trainmen who are color-

vision deficient recognizes that there are some people who, despite not meeting the vision

threshold in 49 CFR 240.121(c) and 242.117(h) have sufficient residual visual capacity to

safely perform as a locomotive engineer or conductor.

        16.      The latitude railroads are given accounts also for the likelihood of harm

from a missed signal not being as significant as one might expect. Under Section 104 of

the Act Rail Safety Improvement Act of 2008, railroads had to implement positive train

control, GPS technology that can stop a train and prevent train-to-train collisions, over-

speed derailments, and unauthorized train movement. Trainmen should therefore no

longer be able to cause an accident, no matter how many signals they miss.

        17.      Further, trainmen do not work alone. Engineers and conductors work in

teams, with each being responsible for reading signals. This redundancy significantly

decreases the risk of harm from one of them misreading a signal, to the point it is

probably zero.

        18.      Turner has worked as a trainman for BNSF since 2005.

        19.      Like one in twelve men, Turner suffers from a genetic anomaly that causes

him to be color-vision deficient.

        20.      Turner’s color-vision deficiency will neither improve nor worsen over

time.

        21.      BNSF knew Turner was color-vision deficient when it hired him.

        22.      Turner passed BNSF’s color-vision test and was licensed by BNSF every

year it tested him until 2020.




                                              4
  Case 4:23-cv-00681-P Document 1 Filed 06/30/23               Page 5 of 8 PageID 5



        23.     In 2020, BNSF had Turner submit to a field test that did not mirror what

he must see in the field.

        24.     The test violated the Best Practices for Designing Vision Field Tests at

73124, which dictates that “the test offered by a railroad must be a valid, reliable, and

comparable test.”

        25.     BNSF also prohibited Turner from wearing monochromatic lenses on the

test.

        26.     Turner failed the test.

        27.     Based solely on his failure, BNSF revoked his license, effectively

terminating him.

        28.     Had BNSF tested Turner using a test that mirrored what he must see to be

able to safely do his job, he would have passed it.

        29.     Had BNSF considered Turner’s history of safely doing his job and the

other pertinent evidence demonstrating his ability to safely do his job, it would have

licensed him.

        30.     Since BNSF did neither, its effective termination of Turner violates the

ADA.

                                  CAUSES OF ACTION

                              COUNT I
         DISABILITY DISCRIMINATION, IN VIOLATION OF THE ADA

        31.     Section 12112(a) of the ADA prohibits employers from discriminating

against a qualified individual on the basis of “disability.”

        32.     “Disability” means (A) a physical or mental impairment that substantially

limits one or more of the major life activities of such individual; (B) a record of such an


                                              5
 Case 4:23-cv-00681-P Document 1 Filed 06/30/23                  Page 6 of 8 PageID 6



impairment; or (C) being regarded as having such an impairment. 42 U.S.C. § 12102(1).

       33.     “An individual meets the requirement of ‘being regarded as having such

an impairment’ if the individual establishes that he or she has been subjected to an action

prohibited under this chapter because of an actual or perceived physical or mental

impairment whether or not the impairment limits or is perceived to limit a major life

activity.” 42 U.S.C. § 12102(3)(A).

       34.     At all relevant times, Turner was an individual with a “disability” under

the ADA.

       35.     Turner is a qualified individual under the ADA.

       36.     Discriminating on the basis of disability under the ADA includes using

“qualification standards, employment tests or other selection criteria that screen out or

tend to screen out an individual with a disability[.]” 42 U.S.C. § 12112(b)(6).

       37.     Discriminating on      the basis of disability also includes failing to

accommodate employees’ disabilities when doing so would be reasonable.

       38.     BNSF discriminated against Turner on the basis of disability when it

refused to recertify and effectively terminated him.

       39.     BNSF discriminated against Turner on the basis of disability when it used

a test that did not mirror what he must actually see to screen him out.

       40.     BNSF discriminated against Turner on the basis of disability when it

failed to accommodate him.

       41.     Because BNSF violated 42 U.S.C. § 12112, Turner has suffered and will

continue to suffer loss of income, emotional distress, and other damages in an amount to

be determined by the trier of fact. Turner is also entitled to attorneys’ fees and costs



                                             6
  Case 4:23-cv-00681-P Document 1 Filed 06/30/23                  Page 7 of 8 PageID 7



incurred in connection with these claims.

           42.   BNSF committed the above-alleged acts with reckless or deliberate

disregard for Turner’s rights. As a result, Turner is entitled to punitive damages.

                                  PRAYER FOR RELIEF

           WHEREFORE, Turner prays for judgment against BNSF as follows:

           43.   That the practices of BNSF complained of herein be determined and

adjudged to constitute violations of the ADA;

           44.   For an injunction against BNSF and its directors, officers, owners, agents,

successors, employees and representatives, and any and all persons acting in concert with

them, from engaging in each of the unlawful practices, policies, customs, and usages set

forth herein;

           45.   For an award of damages arising from loss of past and future income,

emotional distress, and other compensatory damages in an amount to be determined by

the trier of fact;

           46.   For an award of punitive damages for the maximum amount allowed by

statute;

           47.   For an award of pre-judgment interest, as provided by law;

           48.   For an award of Turner’s costs, disbursements and attorneys’ fees

pursuant to law;

           49.   For all relief available under the ADA;

           50.   For such other and further relief available by statute; and

           51.   For such other and further relief as the Court deems just and equitable.




                                               7
 Case 4:23-cv-00681-P Document 1 Filed 06/30/23      Page 8 of 8 PageID 8




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                                  8
